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                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   EASTON STOKES,                         )   CASE NO. 3:19-cv-04613 WHA
                                            )
14          Plaintiff,                      )   FEDERAL DEFENDANTS’ REPLY IN
                                            )   SUPPORT OF CROSS-MOTION FOR
15     v.                                   )   SUMMARY JUDGMENT
                                            )
16   UNITED STATES DEPARTMENT OF            )   Judge: Hon. William Alsup
     JUSTICE, et al.,                       )   Date: June 17, 2021
17                                          )   Time: 8:00 a.m.
            Defendant.                      )   Location: Remote
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 1                                                INTRODUCTION

 2           Plaintiff Easton Stokes (“Plaintiff”) has filed an opposition to Federal Defendants’ cross-motion

 3 for summary judgment. Dkt. No. 95. Plaintiff’s opposition suffers from the same deficiencies as his

 4 opening brief (Dkt. No. 90) and wholly fails to address the arguments set forth at length in Federal

 5 Defendants’ previous briefing. Dkt. Nos. 88 & 96. First, in his discussion of the facts of this matter,

 6 Plaintiff does not make a single citation to the record, nor does he address Federal Defendants’ citations

 7 to the record, including Plaintiff’s own sworn testimony, which confirms that Plaintiff’s commitment

 8 was involuntary both factually and legally. Dkt. No. 95 at pp. 5-6, 8-9. Second, Plaintiff

 9 mischaracterizes the controlling caselaw, which confirms that where robust judicial proceedings are

10 available, as they were here, the requirements of section 922(g)(4) are met. Finally, in arguing that his

11 equal protection rights are being violated, Plaintiff does not cite to a single case. Dkt. No. 95 at p. 10.

12 Moreover, he does not address the multiple cases cited by Federal Defendants establishing that where, as

13 here, the regulations at issue survive an intermediate level of scrutiny (see Mai v. United States, 952

14 F.3d 1106, 1120-21 (9th Cir. 2020)), they must by definition survive a challenge under the lesser

15 rational basis scrutiny. See, e.g., National Rifle Association v. McGraw, 719 F.3d 338, 349-50 (5th Cir.

16 2013). Therefore, Plaintiff’s cross-motion for summary judgment should be denied, and summary

17 judgment should be granted to Federal Defendants on all claims.

18                                                  ARGUMENT

19      I.      PLAINTIFF’S COMMITMENT WAS INVOLUNTARY AS A MATTER OF LAW
                AND FACT
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             As Federal Defendants have demonstrated at length in their previous briefing, Plaintiff’s section
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     5250 commitment was involuntary as a matter of fact and law. Plaintiff makes conclusory statements to
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     the contrary that he does not support with citations to the record; nor does he address the significant
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     record evidence that contradicts his claims. For example, Plaintiff states once again (without citation)
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     that “[a]t no time before, during or after his visit to the institution did Mr. Stokes exhibit any violent
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     actions to himself or others.” Dkt. No. 95 at p. 6. Plaintiff’s intake form, however, states that he
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     exhibited both self-harm and violence towards others. Dkt. No. 79 at 7. Specifically, Plaintiff punched a
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 1 friend and put his own hands into a fire. Id. In addition, the report from the emergency room physician

 2 who initially saw Plaintiff states that Plaintiff’s “foster parents . . . feel pt [patient] is a danger to self,

 3 them and his friends.” Dkt. No. 79-1 at 10.

 4             Plaintiff once again maintains that he voluntarily checked himself into a mental institution for an

 5 examination, while his deposition under oath and the intake documents confirm that four adults drove

 6 him to Kaiser because he “was scared and didn’t have a good perspective of reality.” Stokes Depo. at

 7 104. Those adults subsequently stated that they believed Plaintiff was a danger to themselves, to himself

 8 and to others. Dkt. No. 79-1 at 10. Plaintiff also testified: “I was in really a bad, a very challenging

 9 emotional state. I didn’t really understand what was going on. I just knew that I wasn’t well, I wasn’t

10 sleeping, and I was scared.” Id. at 105. Plaintiff also repeatedly testified that he simply did not

11 remember what had happened after he took drugs and was taken to Kaiser and subsequently to Oakcrest.

12 Stokes Depo. at 103, 110, 111. Specifically, he described being “very confused and disoriented” and

13 stated that he did not recall the evaluation process. Id. at 110-11.

14             In sum, at the time of his commitment, Plaintiff exhibited a danger to himself and others such

15 that a section 5250 involuntary commitment was warranted under California law. Furthermore, Plaintiff

16 testified under oath that he was aware that his commitment was involuntary, and has conceded that he

17 was committed pursuant to a section 5250 involuntary commitment, making his commitment

18 involuntary as a matter of law. Complaint at ¶ 25. While Plaintiff argues – again without citation to the
19 record – that he was voluntarily seeking care, he testified under oath that he knew he could not leave the

20 facility without a court hearing. Stokes Depo. at 121-22. Accordingly, this Court should find that

21 Plaintiff’s commitment was involuntary.

22       II.      PLAINTIFF WAS AWARE OF, YET DECLINED TO UTILIZE, THE ROBUST
                  JUDICIAL PROCEEDINGS THAT WERE AVAILABLE TO HIM AT THE TIME
23                OF HIS COMMITMENT

24             As Federal Defendants discussed at length in earlier briefs, the Lanterman-Petris-Short Act, Cal.

25 Welf. & Inst. Code §§ 5000 et seq., pursuant to which Plaintiff was involuntarily committed, provides

26 for the right to a judicial hearing, at the request of either a committed person or a person acting on his or

27 her behalf. Moreover, this right to a judicial hearing is available at any time during the involuntary

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 1 commitment. Cal. Welf. & Inst. Code § 5275, et seq. Here, Plaintiff testified under oath that he was

 2 specifically told of his right to a judicial hearing, that he knew a judicial hearing was required in order

 3 for him to leave the facility, and that he nonetheless opted not to utilize the judicial proceedings

 4 available to him. Stokes Depo. at 116-17, 121-22. In addition, as State Defendants have pointed out,

 5 there is a legal presumption that the applicable law has been followed. See Cal. Civ. Code § 3548;

 6 United States v. Norton, 97 U.S. 164, 168 (1877). Plaintiff has not rebutted this presumption by

 7 presenting any evidence or records tending to show that the applicable laws were not complied with;

 8 indeed, the available medical records and the reporting of the section 5250 hold to the California

 9 Department of Justice all support a conclusion that Plaintiff’s commitment was involuntary, and that the

10 involuntary commitment was properly reported to the relevant agency.

11          In sum, the reason a court proceeding did not take place at the time of Plaintiff’s involuntary

12 commitment is because he chose not to seek any type of judicial review of the 5250 certification. Stokes

13 Depo. at 116-17, 121-22. Moreover, the Ninth Circuit has concluded that one may give up a right to

14 available judicial review by choosing not to pursue such review. Misischia v. Pirie, 60 F.3d 626, 629

15 (9th Cir. 1995). Plaintiff’s failure to use the procedures available to him under California law at the time

16 can hardly create a constitutional problem now, particularly where, as Federal Defendants have detailed,

17 there is no evidence in the record that Plaintiff’s commitment was anything other than involuntary.

18          The availability of these robust judicial proceedings satisfies the requirements of section

19 922(g)(4). In stating that “state-law procedures that lack robust judicial involvement do not qualify as

20 commitments for purposes of § 922(g)(4),” 952 F.3d at 1110, the Mai Court cited United States v.

21 Rehlander, 666 F.3d 45 (1st Cir. 2012). In Rehlander, the First Circuit held that Maine’s emergency

22 commitment procedure at issue did not meet the requirements of a “commitment” under section

23 922(g)(4) because – in contrast to California’s statutory scheme – it did not allow for substantive judicial

24 review. Id. at 48. The Rehlander Court emphasized that the “right to offer and test evidence if facts are

25 in dispute, is required”, id. (emphasis added), and here Plaintiff had such a right that he declined to

26 exercise. Stokes Depo. at 116-17, 121-22. Notably, neither the Mai Court nor the Rehlander Court held

27 that a person subject to an involuntary commitment has a non-waivable right to a judicial proceeding,

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 1 and indeed, Plaintiff has pointed to no court so holding. Instead, the Ninth Circuit referred to “state-law

 2 procedures”, while citing to a case that involved the non-availability of substantive review under the

 3 relevant state law. Had the Ninth Circuit intended to hold that an actual judicial hearing could not be

 4 declined under any circumstances, it could have said so, but it did not. In sum, the upshot of Plaintiff’s

 5 contention is that a person who was involuntarily committed could avoid the restriction of section

 6 922(g)(4) simply by declining a judicial hearing. There is nothing in the statute or caselaw that suggests

 7 such a result.

 8          Importantly, the Ninth Circuit repeatedly made it clear that section 922(g)(4) as a whole was “a

 9 reasonable fit for the congressional goal of reducing gun violence” and that the statute itself was limited

10 to “those who were found, through procedures satisfying due process, actually dangerous in the past.”

11 Mai, 952 F.3d at 1121. Furthermore, in assessing its constitutionality, the Ninth Circuit found section

12 922(g)(4) to be more narrowly tailored than other lifetime prohibitions, and confirmed that its holding

13 addressed section 922(g)(4)’s “prohibition on those who [like Plaintiff] ‘have been committed to a

14 mental institution.’” Id. Here, pursuant to procedures detailed in California law, Plaintiff was subject to

15 an involuntary commitment, which applies only to those persons who are “a danger to others, or to

16 himself or herself, or gravely disabled.” Cal. Welf. & Inst. Code § 5250(a). California law provided

17 Plaintiff with an opportunity to obtain a judicial proceeding as part of that involuntary commitment,

18 which he declined. Nothing in Mai suggests that Plaintiff Stokes should be treated differently than the
19 plaintiff in that case. See also Phelps v. Bosco, 711 Fed. Appx. 63, 64-65 (2d Cir. 2018) (finding that the

20 plaintiff’s commitment was a prohibiting event under section 922(g)(4) even though – as here – the

21 plaintiff had ultimately chosen not to pursue the available judicial review).

22          Finally, Plaintiff has averred that he is challenging his 5250 commitment in state court, and that

23 the state court has still not rendered a decision. However, Plaintiff has cited to no caselaw establishing

24 that he is entitled to raise a collateral attack on his state-law commitment in federal court prior to a state

25 court decision on that issue, and he should not be permitted to do so. See, e.g., United States v. McIlwain,

26 772 F.3d 688, 698 (11th Cir. 2014) (a plaintiff is not entitled “to a collateral attack in federal court on a

27 commitment he did not – and has not in any way – challenged in the state court.”).

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 1      III.      PLAINTIFF’S EQUAL PROTECTION AND DUE PROCESS ARGUMENTS
                  IGNORE THE APPLICABLE LAW
 2
               Plaintiff argues, without citation to any caselaw, that his inability to appeal his section 922(g)(4)
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     prohibition is an impermissible violation of his equal protection rights, as well as his procedural and
 4
     substantive due process rights. All of Plaintiff’s unsupported arguments are meritless. To begin with,
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     Plaintiff’s newly-stated reliance on the Privileges and Immunities Clause is misplaced, as the “the
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     Privileges and Immunities Clause has been construed as a limitation on the powers of the States, not on
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     the powers of the federal government”, and thus is not applicable here. State of Nev. v. Watkins, 914
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     F.2d 1545, 1555 (9th Cir. 1990).
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               As to the remainder of Plaintiff’s assertions, Federal Defendants have demonstrated at length in
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     their earlier briefing (Dkt. No. 84 at pp. 4-10; Dkt. No.88 at pp. 19-25; Dkt. No. 96 at pp. 7-9), that
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     when, as here, a law assessed under an enumerated rights challenge withstands strict or intermediate
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     scrutiny, the law will also survive an equal protection challenge applying rational basis review. See, e.g.,
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     Kwong v. Bloomberg, 723 F.3d 160, 170 n.19 (2d Cir. 2013) (citing authority) (explaining that where a
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     litigant asserts corresponding Second Amendment and equal protection claims, and the Second
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     Amendment claim fails, “courts have applied ‘rational basis’ review to Equal Protection claims on the
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     theory that the Second Amendment analysis sufficiently protects one’s rights”); Nordyke v. King, 681
17
     F.3d 1041,1043 n.2 (9th Cir. 2012) (en banc) (“As to the Nordykes’ equal protection claim, because the
18
     ordinance does not classify shows or events on the basis of a suspect class, and because we hold that the
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     ordinance does not violate either the First or Second Amendments, rational basis scrutiny applies.”). In
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     addition, Federal Defendants have demonstrated that Plaintiff’s substantive and procedural due process
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     claims must fail. See, e.g., Albright v. Oliver, 510 U.S. 266, 273 (1994) (holding that a substantive due
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     process challenge is redundant where, as here, it is brought along with an enumerated rights challenge);
23
     Jefferies v. Sessions, 278 F. Supp. 3d 831, 846-47 (E.D. Pa. 2017) (dismissing a plaintiff’s claim that
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     section 922(g)(4) violated his Second Amendment rights, dismissing his “equal protection claim under
25
     the Fourteenth Amendment”, and finding that plaintiff “does not have a Fifth Amendment right to
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     procedural due process before the United States applies § 922(g)(4) to him because of his involuntary
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 1 commitment.”)

 2          In Mai, the Court found that even without a forum to challenge a section 922(g)(4) ban,

 3 “§ 922(g)(4) nevertheless remains a reasonable fit for the congressional goal of reducing gun violence”

 4 and thus satisfies intermediate scrutiny review under the Second Amendment. Mai, 952 F.3d at 1111,

 5 1120-21. Statutes making distinctions among residents of different states are subject to rational basis

 6 review. See, e.g., Matsuo v. United States, 532 F. Supp. 2d 1238, 1248 (D. Haw. 2008), aff’d 586 F.3d

 7 1180 (9th Cir. 2009). Because the lack of a relief from termination of rights under section 922(g)(4)

 8 survives constitutional challenge under intermediate scrutiny, Mai, 952 F.3d at 1111, it must by

 9 definition survive a challenge under the lesser rational basis scrutiny applied to equal protection claims

10 such as Plaintiff’s. Judgment should therefore be granted to Federal Defendants on Plaintiff’s equal

11 protection and due process claims.

12    IV. CONCLUSION

13          For the foregoing reasons, along with the record in this matter and the previous briefing,

14 Plaintiff’s cross-motion for summary judgment should be denied and Federal Defendants should be

15 granted summary judgment on all of Plaintiff’s claims.

16

17 Respectfully submitted,

18
     DATED: June 7, 2021                          STEPHANIE M. HINDS
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20
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